Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 1 of 10 PageID 2940


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



     NAVY SEAL 1, et al.,

            Plaintiffs,

     v.                                               CASE NO. 8:21-cv-2429-SDM-TGW

     JOSEPH R. BIDEN, et al.,

           Defendants.
     ___________________________________/


                                             ORDER

            Harboring a religious objection to the COVID-19 vaccine, service members of

     each branch of the military, federal employees, federal contractors, and employees of

     federal contractors, sued on behalf of a putative class and promptly moved to tempo-

     rarily restrain and to preliminarily enjoin military directives and executive orders re-

     quiring COVID-19 vaccination but allowing requests for religious and other exemp-

     tions. An October 18, 2021 scheduling order (Doc. 9) observes that a temporary re-

     straining order directed to the putative class will likely not issue, but the October 18

     order states that the plaintiffs may move on behalf of an individual service member

     subject to a circumstance markedly more acute than the other members of the puta-

     tive class.

            After a November 15, 2021 hearing on the motion for a preliminary injunc-

     tion, a November 22, 2021 order (Doc. 40) denies a preliminary injunction for the
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 2 of 10 PageID 2941



     non-service members, defers resolving the motion on behalf of the service members,

     and requires the defendants to submit on January 7, 2022, a notice containing for

     each branch of the armed forces information about, among other things, the number

     of pending requests for religious and other exemptions and the number of requests

     denied after final appeal. The November 22 order permits the parties not sooner

     than January 7, 2022, to explain in a supplemental memorandum the factual basis

     warranting either issuance of a preliminary injunction or a denial of the motion and

     states that a separate order will schedule a resumption of the hearing, if necessary.

            On January 20, 2022, the plaintiffs moved (Doc. 49) to amend the complaint.

     On January 21, 2022, the plaintiffs — in accord with the November 22 order — sub-

     mit a supplemental memorandum in support of a preliminary injunction. On Janu-

     ary 26, 2022, the plaintiffs moved (Doc. 55) for leave to proceed under a pseudonym.

     The defendants oppose (Doc. 49) amendment, request (Doc. 56) an extension of time

     in which to respond to the supplemental memorandum, and according to a 3.01(g)

     certification oppose the request to proceed under a pseudonym. Also, on February 1,

     2022, the parties jointly moved (Doc. 59) for an interim protective order to permit

     limited disclosure of the plaintiffs’ identities.

            At 6:18 p.m. on February 1, 2022, the plaintiffs moved (Doc. 60) for a tempo-

     rary restraining order on behalf of two service members allegedly confronting immi-

     nent removal from a position of command. A February 2, 2022 order (Doc. 62) per-

     mits the defendants to respond to the motion for a temporary restraining order not



                                                  -2-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 3 of 10 PageID 2942



     later than 5:00 p.m. on February 2, 2022, and the defendants timely respond

     (Doc. 66).

                       The Motion for a Temporary Restraining Order

           The service members moving for a temporary restraining order comprise a

     Commander Surface Warfare Officer in the Navy and a Lieutenant Colonel in the

     Marines. The plaintiffs propose (Doc. 49) in the amended complaint to add the

     Navy Commander as a plaintiff. Although this order defers ruling on the motion to

     amend the complaint, Moore v. Comfed Savings Bank, 908 F.2d 834, 839 (11th Cir.

     1990), permits sua sponte joinder of a party if joinder is proper under Rule 20, Federal

     Rules of Civil Procedure. Because Navy Commander’s claims “arise[] out of the

     same transaction, occurrence, or series of transactions or occurrences” and contain a

     “question of law or fact” common to the other service member plaintiffs, Rule 20

     permits the officer’s joinder as a plaintiff. Accordingly, Navy Commander is

     JOINED as a plaintiff in this action. The motion for a temporary restraining order

     and the supporting affidavits demonstrate the following facts.

           Navy Commander

           Navy Commander serves as the commanding officer of a guided missile de-

     stroyer in the Navy. (Doc. 60-1 ¶ 2) Navy Commander joined the Navy in 2004 and

     has served for more than seventeen years. (Doc. 60-1 ¶ 4) From January 2020 to

     March 2021, before the FDA fully authorized a COVID-19 vaccine, Navy Com-

     mander conducted successful operations, including a voyage exceeding 300 days,

     while adhering to COVID-19 safety protocols, including masking, sanitizing,

                                               -3-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 4 of 10 PageID 2943



     physical distancing, COVID-19 testing, and quarantining. (Doc. 60-1 ¶¶ 12-13)

     More than 93% of the sailors under the command of Navy Commander have com-

     pleted a COVID-19 vaccination series. (Doc. 60-1 ¶ 15)

           On August 24, 2021, the Secretary of DoD issued a memorandum requiring

     COVID-19 vaccination of service members in accord with applicable branch proce-

     dure. On September 13, 2021, Navy Commander submitted a “Religious Accommo-

     dation Request” (RAR). (Doc. 60-1 ¶ 8) On October 22, 2021, the Chief of Naval

     Personnel denied the request, which Navy Commander appealed on November 3,

     2021. (Doc. 60-1 ¶¶ 9, 10) The denial letter “is identical to the denial letter received”

     by the sixteen sailors under the command of Navy Commander. (Doc. 60-1 ¶ 19)

     Although Navy Commander endorsed the exemption request of each sailor and af-

     firmed the ability to accommodate each sailor, the Navy deemed Navy Com-

     mander’s endorsement insufficient. (Doc. 60-1 ¶ 22)

           On January 28, 2022, the Chief of Naval Operations, the ultimate appellate

     authority within the Navy, denied Navy Commander’s appeal. (Doc. 60-1 at 8) The

     appellate denial letter assumes that Navy Commander’s “religious beliefs are sincere

     and would be substantially burdened.” (Doc. 60-1 at 8) However, the letter states,

     among other things, that “[a] waiver of immunizations would have a predictable and

     detrimental effect on the readiness of you and the Sailors who serve along side you”

     and that the other preventative measures, which for the last two years Navy Com-

     mander has required of the sailors under his command, “are not 100 percent effective

     and must be implemented in conjunction with immunization to reduce the risk of

                                               -4-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 5 of 10 PageID 2944



     mission failure.” (Doc. 60-1 at 8) The letter declines to mention that the Navy has

     granted 270 medical exemptions (Doc. 52-3 at 3) and fails to explain the unsuitability

     of the alternative precautions afforded the recipients of a medical exemption.

           The appellate denial letter orders Navy Commander to begin a COVID-19

     vaccination series at a Navy immunization clinic not later than February 3, 2022.

     (Doc. 60-1 at 9) An order requires Navy Commander to meet with a squadron com-

     mander the evening of February 3, 2022. (Doc. 60-1 ¶ 25) Navy Commander “fully

     expects to be relieved as commander of [Navy Commander’s] ship, due to a ‘loss of

     confidence,’” if Navy Commander does not appear at the immunization clinic to

     begin the COVID-19 vaccination series. (Doc. 60-1 ¶¶ 24–25)

           Lieutenant Colonel 2

           Lieutenant Colonel 2 serves as a logistics officer at Marine Forces Special Op-

     erations Command at Camp Lejeune, North Carolina. (Doc. 60-2 ¶ 2) Lieutenant

     Colonel enlisted in the Marine Corps in 1997. (Doc. 60-2 ¶ 3) Since the beginning of

     COVID-19, Lieutenant Colonel 2 has completed eight temporary duty assignments,

     which required travel across the United States. (Doc. 60-2 ¶ 19) A Black female,

     Lieutenant Colonel 2, among many other duties, serves as a Diversity and Inclusion

     Officer and serves as a DoD Fellow in which capacity Lieutenant Colonel conducts

     research to integrate women into ground combat positions. (Doc. 60-2 ¶ 6) Before

     joining the military, Lieutenant Colonel 2 received an abortion after becoming preg-

     nant from rape. (Doc. 60-2 ¶ 18) This experience caused Lieutenant Colonel 2 to



                                              -5-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 6 of 10 PageID 2945



     develop strong religious opposition to abortion and to any vaccine developed with

     fetal cell lines. (Doc. 60-2 ¶ 18)

            On September 7, 2021, Lieutenant Colonel 2 requested a religious exemption

     from COVID-19 vaccination. (Doc. 60-2 ¶ 8; Doc. 60-2 at 13) On October 13, 2021,

     the Deputy Commandant, Manpower & Reserve Affairs denied the request.

     (Doc. 60-2 ¶ 10) On November 3, 2021, Lieutenant Colonel 2 appealed the denial,

     which on January 26, 2022, the Assistant Commandant of the Marine Corps denied.

     (Doc. 60-2 at 7) In the denial letter, which the defendants append to the response

     (Doc. 66-3), the Assistant Commandant questions whether receiving the COVID-19

     vaccine substantially burdens a religious belief because Lieutenant Colonel 2’s objec-

     tions to the COVID-19 vaccine “could be made for every FDA approved vaccine

     [she has] received” in the military. Further, “assuming that COVID-19 vaccination

     substantially burdens” a religious belief, the Assistant Commandant concludes that

     “the government's compelling interests in military readiness and in the health and

     safety of the force” justifies denying Lieutenant Colonel 2’s request. The denial letter

     declines to mention that the Marines have granted 234 medical exemptions (Doc. 52-

     4 at 3) and fails to explain the unsuitability of the alternative precautions afforded a

     recipient of a medical exemption.

            On January 26, 2022, a commanding officer directed Lieutenant Colonel 2 to

     begin a vaccination series not later than February 2, 2022. (Doc. 60-2 at 7) If Lieu-

     tenant Colonel 2 fails to timely begin the vaccination series, “the process will imme-

     diately begin to place [Lieutenant Colonel 2] on the Officer Disciplinary Notebook,”

                                                -6-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 7 of 10 PageID 2946



     which strips Lieutenant Colonel 2 of her command and her eligibility for deploy-

     ment, promotion, schooling, and other career progression, including retirement.

     (Doc. 60-2 ¶ 13) Further, placement on the Officer Disciplinary Notebook begins the

     “Board of Inquiry Process,” that is, the process of administrative separation from the

     Marines. (Doc. 60-2 ¶ 14)

           Analysis

           The order deferring the motion for a preliminary injunction contemplated that

     some exigent circumstance might require more narrow and interim relief to preserve,

     pending the outcome of pending matters, the rights of a service member otherwise

     subject to some adverse action by the military because of the military’s denying, al-

     legedly in violation of RFRA, a service member’s request for a religious exemption.

           The complaint in this action presents a formidable array of claims and parties,

     both as plaintiffs and as defendants. The optimum array of the parties and the claims

     remains unresolved (that is, for example, whether to sever some parties or claims,

     whether and how to certify one or more classes or subclasses, the effect (if any) of ad-

     judications in related actions elsewhere, and the like). In short, the action is not pro-

     cedurally mature and organized in a streamline and readily manageable manner; but

     that state will not long endure. (Reliance was placed on the parties to act with re-

     straint and deference to permit this action to proceed in a deliberate and orderly

     manner without the need to resolve sudden and unexpected “emergency” events,

     such as the present motion. Reliance having failed, other means will attach.)



                                               -7-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 8 of 10 PageID 2947



            The record as a whole in this action and the attendant circumstances support

     the motion by the two service member plaintiffs, and the motion is GRANTED-IN-

     PART for the following reasons and to the following extent. The purpose of this re-

     lief is preservation of the status quo for a week to permit a reasonable and practical

     opportunity for a hearing and any necessary and additional submissions from the

     parties. The hearing on further preliminary relief as a result of the pending motion

     (Doc. 60) will occur on FEBRUARY 10, 2022, at 10:00 A.M. in Courtroom 15A,

     United States Courthouse, Tampa, Florida, and continuing during whatever time is

     necessary from day to day until completion. Lead counsel must attend in person.

     Each party may offer evidence, testimonial or otherwise.

            The record in this action establishes that the two service members are very

     likely to prevail on their claim that their respective branch of the military has wrong-

     fully denied a religious exemption from COVID-19 vaccination. The record creates

     a strong inference that the services are discriminatorily and systematically denying

     religious exemptions without a meaningful and fair hearing and without the showing

     required under RFRA (while simultaneously granting medical exemptions and per-

     mitting unvaccinated persons to continue in service without adverse consequence).

     One struggles to imagine a wholesome and lawful explanation for the results evi-

     denced in this record. The military is well aware of the frailty of their arguments in

     defense of their practices. Those arguments both procedural and substantive, are re-

     jected in an action that is distinctively parallel to this action. U.S. Navy Seals 1–26, et

     al v. Biden, 4:21-cv-1236-O, Doc. 66, 2022 WL 34443 (N.D. Tex. Jan. 3, 2022)

                                                 -8-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 9 of 10 PageID 2948



     (characterizing the military’s review of requests for a religious exemption as “thea-

     ter” and granting relief to the service member plaintiffs). Rejection on the same or a

     more encompassing basis is likely in this action (especially if the conduct of the mili-

     tary continues along the present lines).

           The two moving service members face either (1) a most-likely-unlawful depri-

     vation of their accumulated status and standing in the United States military, as well

     as prospective advancement and benefits, or (2) deprivation of their constitutional

     and statutory rights to Free Exercise and the statutory right to receive a religious ex-

     emption unless the military can meet the statutory burden of proof, which the mili-

     tary has not and likely cannot. On the other hand, the military faces a trivial, if any,

     prospect of material injury as a result of permitting the service members continued

     service under the same terms and conditions and with the same privileges and emol-

     uments as currently prevail, especially because the military permits a large group of

     unvaccinated persons to serve without adverse consequence.

           Finally, the military is most likely unable to establish, and certainly has not es-

     tablished, that permitting the relatively small number of RFRA objectors, even if

     every request for exemption (much less the two at issue in this motion) were sincere

     and successful, to serve without adverse consequences to their standing and the terms

     and conditions of their service will adversely affect the public’s interest in the mainte-

     nance and readiness of the nation’s military forces. In fact, the public undoubtedly

     has some considerable interest in maintaining the services of skilled, experienced,

     highly trained, patriotic, courageous, and esteemed service members, such as the two

                                                -9-
Case 8:21-cv-02429-SDM-TGW Document 67 Filed 02/02/22 Page 10 of 10 PageID 2949



     moving service members, in whom the public has an immense financial investment

     and who are not, to say the least, readily replaceable.

             The Secretary of Defense and anyone acting in concert with him, as specified

     in and to the full extent of Rule 65, Federal Rules of Civil Procedure, is ENJOINED

     through February 11, 2022, from diminishing or altering in any manner and for any

     reason the current status of Navy Commander and Lieutenant Colonel 2, including

     their assignment, privileges, rank, or the like. In short, Navy Commander and Lieu-

     tenant Colonel 2 must remain “as is” throughout the duration of this injunctive re-

     lief.

             ORDERED in Tampa, Florida, on February 2, 2022.




                                              - 10 -
